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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

NOBLEWOOD IP LLC,                                  )
                                                   )
                          Plaintiff,               )
                                                   )
               v.                                  ) C.A. No. 22-134 (VAC) (SRF)
                                                   )
VIACOMCBS INC.,                                    ) DEMAND FOR JURY TRIAL
                                                   )
                          Defendant.               )

              STIPULATION AND ORDER FOR STAY OF PROCEEDINGS

       WHEREAS, the parties have reached an agreement in principle to settle this case,

       IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that all proceedings in this action are stayed until May 31, 2022 to permit the parties to

finalize the settlement; and

       IT IS FURTHER STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that in the event that this case has not been dismissed by May 31, 2022, the parties will

advise the Court of the status of settlement no later than June 3, 2022.

THE CHONG LAW FIRM, P.A.                            MORRIS, NICHOLS, ARSHT & TUNNELL LLP

/s/ Jimmy Chong                                     /s/ Jack B. Blumenfeld

Jimmy Chong (#4839)                                 Jack B. Blumenfeld (#1014)
2961 Centerville Road, Suite 350                    1201 North Market Street
Wilmington, DE 19808                                P.O. Box 1347
(302) 999-9480                                      Wilmington, DE 19899
chong@chonglawfirm.com                              (302) 658-9200
                                                    jblumenfeld@morrisnichols.com
Attorneys for Plaintiff
                                                    Attorneys for Defendant
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      SO ORDERED this _____ day of May, 2022.



                              ______________________________________________
                              UNITED STATES MAGISTRATE JUDGE




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